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1    QUIN DENVIR, Bar No. 49374
     Federal Defender
2    801 I Street, Third Floor
     Sacramento, California 95814
3    Telephone: (916) 498-5700
4    Attorney for Defendant
     Sergio Ramirez
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,     )            CR S-05-0456 FCD
                                   )
13                   Plaintiff,    )
                                   )
14        v.                       )            REQUEST FOR APPOINTMENT
                                   )            OF NEW COUNSEL AND
15   SERGIO RAMIREZ,               )            ORDER
                                   )
16                   Defendant.    )
     ______________________________)
17
18               Defendant    Sergio    Ramirez     hereby   requests     that   the
19   appointment of the Office of the Federal Defender be terminated and
20   that Quin Denvir be appointed as his counsel.            Mr. Denvir has been
21   handling the case since the Office was appointed by the Court.               He
22   will be retiring from the Office as of December 31, 2005.            Defendant
23   would like the appointment of the Office terminated and Mr. Denvir
24   appointed as his new counsel, effective January 1, 2006.
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27   ///
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1    Respectfully submitted,
2
3    DATED:   December ___, 2005       /s/ Quin Denvir
                                       QUIN DENVIR
4
                                       Attorney for Sergio Ramirez
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6
           IT IS SO ORDERED.
7
8    DATED: December 21, 2005
9
10                                     /s/ Frank C. Damrell Jr.
                                       FRANK C. DAMRELL, Jr.
11                                     United States District Judge
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     United States v. Ramirez
     05cr0456 FCD
     Req. Appt. New Counsel                2
